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                                IN THE UNITED STATES DISTRICT COURT
                               FOR THE NORTHERN DISTRICT OF GEORGIA
                                         ATLANTA DIVISION


              RAISSA DJUISSI KENGNE,
                        Plaintiff,                          CIVIL ACTION FILE
                  v.                                        NO. 1:22-cv-02237-SEG
              ID.me, INC., and COGENCY
              GLOBAL, INC.,
                        Defendants.




                                FINAL REPORT AND RECOMMENDATION



                   This case is before the Court on Plaintiff’s failure to comply with this Court’s

             Order dated June 8, 2022 denying her request to proceed in forma pauperis (“IFP”),

             and ordering her to pay the appropriate filing fee to the Clerk within 21 days of the

             date of the Order if she wished to proceed with this case. [Doc. 2, Order].

                       The Order was based on the financial affidavit that Plaintiff completed and

             filed under penalty of perjury.1 [Doc. 1]. The Order instructed Plaintiff that if she

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                      Plaintiff’s affidavit (signed and declared true under penalty of perjury)
             indicated that over the past twelve months, Plaintiff earned an average monthly income
             of $7500 from her employment and retirement (which amounted to $90,000 on an



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             failed to pay the filing fee, the undersigned would recommend that the action be

             dismissed.

                    The Order further notified Plaintiff that if she sought to proceed with her

             lawsuit, she should first “ensure that she alleges a valid claim and that federal and/or

             diversity jurisdiction exists.” [Id. at 2 n.2]. The Order pointed out that after review

             of her proposed complaint, it was doubtful that any of the federal or state statutes cited

             by Plaintiff in her proposed complaint provided any individual right of action in

             federal court.2 [Id.]. This was the first of three lawsuits that Plaintiff filed in this court


             annual basis). She listed no children or a spouse that rely on her for support, and she
             indicated that she owns a condo valued at approximately $500,000, a land lot worth
             $55,000, and an abandoned house worth approximately $200,000. [Doc. 1, Pl.’s Aff.].
             The undersigned found that Plaintiff’s annual income was well above the poverty
             level, and while she listed average monthly expenses that exceeded her monthly
             income, I noted that some of those discretionary amounts for one person seemed
             unnecessarily high, such as $1000 for food, $1000 for utilities, $200 for laundry and
             dry cleaning, and $6000 to Bank of America, Citi Bank, and American Express. [Doc.
             2 at 2]. I concluded that while she may have limited funds and may have other
             priorities for those funds, according to her affidavit, she was able to pay the required
             $402 filing fee and should do so if she wished to pursue this case. [Id.].
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                        Plaintiff’s proposed complaint alleges, as a basis for federal question
             jurisdiction, that the named defendants violated the following federal and state statutes
             by refusing to provide Plaintiff access to her account on ID.me’s website in order for
             Plaintiff to receive unemployment benefits, “causing Plaintiff to live without income”:
             42 U.S.C. § 1104 (Unemployment Trust Fund); 26 U.S.C. § 3301, et seq. (Federal
             Unemployment Tax Act); and O.C.G.A. § 34-8-45 (Supplemental Unemployment
             Benefits). [Doc. 1-1 at 3–4]. Plaintiff has cited no authority indicating that any of
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             in the same week seeking permission to proceed IFP.3 For the same or similar reasons,

             all of Plaintiff’s applications to proceed IFP were denied.

                   Instead of timely paying the filing fee and submitting an amended complaint,

             Plaintiff filed a 678-page motion for appeal, citing 28 U.S.C. § 1915(a), Federal Rule

             of Appellate Procedure 24, and 28 U.S.C. § 1292(b) as the purported governing

             authorities. [Doc. 5]. In that motion, Plaintiff argues that by delaying and preventing

             Plaintiff from accessing her ID.me unemployment account, ID.me has “wrongfully,

             illegally, and/or unlawful [sic] depriving Plaintiff of food, shelter, and adequate

             healthcare,” and “violated Plaintiff unalienable rights under the 14th Amendment

             Title I” and her “right to Life, Liberty and the pursuit of Happiness as well as due

             process.” [Doc. 5 at 9]. That motion remains pending before the district judge

             assigned to this case.

                   With regard to the complaint that Plaintiff has filed in this case, not only has

             Plaintiff failed to pay the filing fee; she has also failed to establish subject matter


             these statutes provide an individual right of action in federal court.
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                      See Case No. 1:22-cv-02237-SEG, Raissa Djuissi Kengne v. ID.me, Inc., et
             al.; Case No. 1:22-cv-02263-SEG-CMS, Raissa Djuissi Kengne v. AG South Farm
             Credit, et al.; and Case No. 1:22-cv-02297-SEG-CMS, Raissa Djuissi Kengne v.
             Georgia Power Co.


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             jurisdiction over her claim(s). It is well-settled that a federal court is obligated to

             inquire into subject matter jurisdiction sua sponte whenever it may be lacking.

             University of S. Ala. v. Am. Tobacco Co., 168 F.3d 405, 410 (11th Cir. 1999). It is the

             plaintiff’s burden to demonstrate that the action is based on diversity jurisdiction, or

             that the action contains one or more claims arising under the Constitution, treaties or

             laws of the United States. 28 U.S.C. §§ 1441(a) & (b), 1331(a), 1332. In this case,

             the civil cover sheet that Plaintiff completed to initiate this lawsuit indicates that she

             is asserting federal question jurisdiction. [Doc. 1-3 at 1]. However, there are no

             allegations in Plaintiff’s proposed complaint to support federal question jurisdiction.

             She has not cited any federal law or statute that would provide federal question subject

             matter jurisdiction over her claims.

                   It is also doubtful that diversity jurisdiction exists. Pursuant to 28 U.S.C.

             § 1332, federal district courts have original jurisdiction for all civil actions where the

             amount in controversy exceeds $75,000 and is between citizens of different states. See

             id. Plaintiff’s complaint and Section Three of the civil cover sheet that Plaintiff

             completed indicate that she is a citizen of Georgia and that Defendants’ principal place

             of business is in this state. [Doc. 1-1 at 4; Doc. 1-3 at 1]. Plaintiff alleges that the

             amount in controversy “cannot be easily estimated,” but her claim generally alleges

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             that she is entitled to receive unemployment benefits, but Defendants’ alleged refusal

             to provide access to her account on their website means she is “unable to use her

             unemployment benefits to pay her mortgage.” [Doc. 1-1 at 4]. Plaintiff’s complaint

             fails to show that the amount in controversy exceeds $75,000 and the action is between

             citizens of different states.

                    In sum, Plaintiff’s application to proceed IFP was DENIED and she has failed

             to pay the filing fee, as directed by the Court. She has also failed to establish that this

             Court has subject matter jurisdiction over her claims. I therefore RECOMMEND that

             Plaintiff’s complaint be DISMISSED without prejudice for lack of subject matter

             jurisdiction, and for failure to comply with a lawful order of the Court.

                    There being nothing further before me, the Clerk is DIRECTED to terminate

             the submission and/or reference.

                    IT IS SO RECOMMENDED AND DIRECTED, this 5th day of August, 2022.




                                                      CATHERINE M. SALINAS
                                                      UNITED STATES MAGISTRATE JUDGE


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